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           EXHIBIT C
        Mesiti Declaration
 U.S. Design Patent No. D560,924
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                                                                                                 USOOD560924S


(12) Walker
     United States Design Patent (10) Patent No.:                                                                  US D560,924 S
                                                                              (45) Date of Patent:                          Feb. 5, 2008
(54) COMBINATION SHOWER CURTAIN HOOK                                              D350,279 S        9, 1994 Tate
        AND PICTURE FRAME                                                         5,575,446 A * 11/1996 Swenson et al. ............ 248,304
                                                                                  D398,516 S * 9/1998 Brown et al. ......... ... D8,370
(75) Inventor: David Lamont Walker, Chester, PA                                   D400,425 S * 11/1998 Goodman et al. ........... D8/367
               (US)                                                               D428,802 S * 8/2000 Villano et al. ............... D8,367
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                                                                                  D441.584 S        5, 2001 Ho
(73) Assignee: Zenith Products Corp., New Castle,                                 D456,696 S        5, 2002 Samelson
               DE (US)                                                            D459,201 S        6/2002 Michaelson
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(**) Term:            14 Years                                                    6,530,120 B2      3/2003 Samelson
                                                                                  D485.431 S    1/2004 Hsu ............................ D3/210
(21) Appl. No.: 29/247,257                                                        D489,249 S * 5/2004 Moore ......................... D8,367
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(22) Filed:          Jun. 8, 2006                                                 D496,849 S * 10/2004 Abdi et al. ....             ... D8,367
                                                                                  D505.315 S * 5/2005 Snell .........              ... D8,367
(51) LOC (8) Cl. ................................................. 06-04          D505,614 S * 5/2005 Barrese ..                   ... D8,367
(52) U.S. Cl. ........................... D6/396; D6/300; D8/367                  D515,912 S * 2/2006 Snell ........................... D8,367
                                                                                  D535,110 S *      1/2007 Hoernig ....................... D6,323
(58) Field of Classification Search ......... D6/300-314,
                D6/315,323,328, 580, 370,397; D8/367,                      * cited by examiner
            D8/349; 211/13.1, 85.3, 86.01, 183; 160/39,
         160/330; 248/339, 301, 304, 214-215; D3/210;                      Primary Examiner Caron D. Veynar
                                         16/87.2: 40/700, 725, 717         Assistant Examiner Sydney R Buffalow
     See application file for complete search history.                     (74) Attorney, Agent, or Firm—Akin Gump Strauss Hauer &
                                                                           Feld LLP
(56)                     References Cited
                 U.S. PATENT DOCUMENTS                                     (57)                         CLAM
        267,938 A        11/1882 Rings                                     The ornamental design for a combination shower curtain
        396,604 A         1/1889 Rings                                     hook and picture frame, as shown and described.
        397.419 A         2/1889 Day
        400,348 A         3, 1889 Lawrence                                                         DESCRIPTION
        460,793 A        10/1891 Rings
        578,424 A         3/1897 Rings                                     FIG. 1 is a front perspective view of a combination shower
        659,534 A        10, 1900 Kroder                                   curtain hook and picture frame in accordance with my new
        686,124 A        11/1901 Parker                                    design;
        699,507 A         5, 1902 Erich                                    FIG. 2 is a front elevational view thereof;
        805,919 A        11/1905 Kroder
        913,261 A         2, 1909 Clark                                    FIG. 3 is a rear elevational view thereof
       1,020,776 A        3/1912 Parry                                     FIG. 4 is a left side elevational view thereof,
       1,224,624 A        5/1917 Fjellman
       1,857,293 A        5, 1932 Vroom                                    FIG. 5 is a right side elevational view thereof;
       2,320,003 A        5, 1943 Madan                                    FIG. 6 is a top plan view thereof; and,
       3.223,373 A * 12/1965 Molinaro .................... 248,339
       3,315,297 A        4, 1967 Bender                                   FIG. 7 is a bottom plan view thereof.
       4,887,785 A * 12/1989 Blaich ........................ 248,339
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               FIG. 2




                                                  FIG. 3
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